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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                  11/6/2020


TODD KREISLER,

                                            Plaintiff,               1:19-CV-08584 (JPO)(SN)

                          -against-                                         ORDER

455 BROADWAY REALTY, LLC, et al.,

                                            Defendants.

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SARAH NETBURN, United States Magistrate Judge:

         On July 22, 2020, Defendant Muji U.S.A. Limited filed a suggestion of bankruptcy with

the Court. ECF No. 49. On July 24, 2020, the Court stayed the case as to Defendant Muji U.S.A.

Limited. ECF No. 50. The Court directs ALL PARTIES to file a joint status letter with the Court,

which should address the status of the bankruptcy proceedings and any other developments in

this case by November 13, 2020, and at 45-day intervals thereafter until the bankruptcy

proceedings are completed.

SO ORDERED.



DATED:           New York, New York
                 November 6, 2020
